        Case 3:24-cv-06843-JD         Document 69        Filed 04/04/25     Page 1 of 1




                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
                                         Civil Minutes


 Date: April 3, 2025                                                Judge: Hon. James Donato

 Time: 15 Minutes

 Case No.       3:24-cv-06843-JD
 Case Name      Epic Games, Inc. v. Samsung Electronics Co. Ltd. et al

 Attorney(s) for Plaintiff(s):   Gary Bornstein/Yonatan Even/Phil Duggan
 Attorney(s) for Defendant(s):   Adam Wolfson/Jeannie Rhee/Anita Liu

 Deputy Clerk: Lisa R. Clark                                        Court Reporter: April Brott

                                        PROCEEDINGS

Motion Hearing -- Held

                                    NOTES AND ORDERS

The motions to dismiss, Dkt. Nos. 49, 56, are denied from the bench for the reasons stated on the
record. In summary, plaintiff Epic Games, Inc. has plausibly stated its claims in the complaint.
See Dkt. No. 1; Fed. R. Civ. P. 12(b)(6).

A status conference is set for May 8, 2025, at 10:00 a.m., and may be held every 30 days as the
parties may request. The parties are directed to file by May 1, 2025, a joint status conference
statement with a proposed agenda for the conference. The parties may request to cancel the
conference if it is not needed.
